Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 1 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 2 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 3 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 4 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 5 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 6 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 7 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 8 of 9
Case 23-11289-pmm   Doc 17    Filed 07/12/23 Entered 07/12/23 09:13:37   Desc Main
                             Document      Page 9 of 9
